                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                No. 15-CR-46-LRR
 vs.                                                             ORDER
 DESHAUN ANDERSON,
                 Defendant.
                                  ____________________

         The matter before the court is United States Chief Magistrate Judge Jon S. Scoles’s
Report and Recommendation (docket no. 38), which recommends that the court deny
Defendant DeShaun Anderson’s Motion to Suppress (docket no. 13).
         On June 15, 2015, Defendant filed the Motion, which requests that the court
suppress all evidence obtained from the search and seizure of Defendant and his vehicle
on April 14, 2015 and the subsequent search of his residence on April 16, 2015. On June
19, 2015, the government filed a Resistance (docket no. 16). On June 25, 2015, Judge
Scoles held a hearing on the Motion. See Minute Entry (docket no. 35). Defendant
appeared in court with his attorney, F. Montgomery Brown. Assistant United States
Attorney Dan Chatham represented the government. On June 30, 2015, Judge Scoles
issued the Report and Recommendation, which recommends that the court deny the
Motion. The Report and Recommendation states that “within fourteen (14) days after
being served with a copy of this Report and Recommendation, any party may serve and
file written objections with the district court.” Report and Recommendation at 13.
         The time to object to the Report and Recommendation has expired and neither party
has filed any objections. The parties have thus waived their right to a de novo review of
the Report and Recommendation. See, e.g., United States v. Newton, 259 F.3d 964, 966
(8th Cir. 2001) (“‘Appellant’s failure to file any objections waived his right to de novo


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review by the district court of any portion of the report and recommendation of the
magistrate judge as well as his right to appeal from the findings of fact contained therein.’”
(quoting Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994))). The court finds no plain
error in Judge Scoles’s decision. Accordingly, the court ADOPTS the Report and
Recommendation (docket no. 38). The Motion to Suppress (docket no. 13) is DENIED.
       IT IS SO ORDERED.
       DATED this 22nd day of July, 2015.




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